Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 1 of 44 Page ID
                                  #:833




                   EXHIBIT 1
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 2 of 44 Page ID
                                  #:834




                                                          Exhibit 1, Page 4
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 3 of 44 Page ID
                                  #:835




      (Henry) Hong Liu, Partner



                                                          Exhibit 1, Page 5
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 4 of 44 Page ID
                                  #:836




      Chaoying Deng
       Vice President




                                                          Exhibit 1, Page 6
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 5 of 44 Page ID
                                  #:837




                                                          Exhibit 1, Page 7
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 6 of 44 Page ID
                                  #:838




                   EXHIBIT 2
        Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 7 of 44 Page ID
                                          #:839



From:                              Jake Nachmani <jnachmani@seidenlawgroup.com>
Sent:                              Friday, March 19, 2021 6:30 PM
To:                                Goldman, Jeffrey M.; Crisp, Kevin; Kessel, Alan J.; Grochow, Lauren; Willow-Johnson,
                                   Mackenzie Lee
Cc:                                Amiad Kushner; Andrew Sklar; Kevin Hughes
Subject:                           Liu v. Faraday&Future, Inc., et al.,: 2-20-cv-08035-SVW-JPR (C.D. Cal.): Local Rule 7-3
                                   Notice



EXTERNAL SENDER

Counsel:

Pursuant to Local Rule 7-3 and in connection with the above-captioned matter, we are writing to inform you that
Plaintiff intends to file a motion to dismiss FF’s Second Amended Counterclaim (ECF 95) (“SACC”) under Rule 12(b)(6) of
the Federal Rules of Civil Procedure, a motion to strike the affirmative defenses pled in FF and Smart King’s Second
Amended Answers (ECF 93 & 94, respectively) (collectively, “SAAs”) under Rule 12(f) of the Federal Rules of Civil
Procedure Rule, and a motion for sanctions under U.S.C. § 1927 and the Court’s inherent authority to impose such
penalties.

As to Plaintiff’s 12(b)(6) motion, Plaintiff will seek to dismiss every cause of action set forth in the SACC. As a preliminary
matter and notwithstanding the numerous pleading defects set forth below, for the third time, FF has set forth a wholly
implausible theory of liability. For example, FF scatters droppings of “facts” which, even if true (which they are not)
cannot give rise to a colorable cause of action, detailed below. Moreover, any new purported facts or legal theories set
forth in the SACC have been available to FF prior to the inception of this Action and could have been alleged in the initial
Counterclaim or the Amended Counterclaim; yet FF has waited no less than 15 months, three pleadings, two motions to
dismiss, and an accelerated litigation schedule and jury trial ordered by the Court to raise these new-fangled claims with
but three months until trial begins. Additionally, it is implausible that Smart King, having been represented by Sidley
Austin LLP (“Sidley Austin”) in the Evergrande Transaction, which valued Smart King at $4.5 billion, was not represented
by counsel in connection with the drafting and negotiating of Plaintiff’s Employment Agreement; it is implausible that
Defendants did not have Sidley Austin (or other competent legal counsel) review and approve of the Employment
Agreement when, by its terms, the Employment Agreement promises to give Plaintiff 2% of Smart King pursuant to the
Evergrande Transaction. By the SACC, FF also contradicts allegations set forth in its previous pleadings, warranting
dismissal.

Moreover, it is clear to Plaintiff that FF has made numerous allegations in bad faith, knowing that such allegations were
false or with reckless disregard for their truth. Indeed, while FF maintains that Plaintiff allegedly took advantage of FF by
purportedly drafting the Employment Agreement by himself, supposedly inducing FF into entering into the Employment
on terms that were somehow unfairly actionable to the Company while failing to advise FF to seek the advice of counsel,
FF fails to disclose to the Court that during the negotiation and drafting of the Employment Agreement:

        Sidley Austin reviewed and approved of the Employment Agreement’s terms (as well as those in the Director
         Compensation Agreement);
        Jerry Wang (whose English is perfectly sophisticated) negotiated and drafted the Employment Agreement with
         Plaintiff;
        Plaintiff accepted numerous material terms sought by FF;
        Numerous material terms were initially included in the Employment Agreement’s Term Sheet, which was given
         to Plaintiff by FF as the parties began negotiating the terms of Plaintiff’s employment.


                                                               1

                                                                                             Exhibit 2, Page 8
        Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 8 of 44 Page ID
                                          #:840
These material omissions constitute a fraud on the Court, render the SACC a frivolous and harassing filing, and warrant
sanctions.

Notwithstanding the above-referenced defects, the SACC fails to adequately state a claim. As a preliminary matter, the
SACC sounds in fraud and, as a result, many of the SACC’s causes of action, including constructive fraud, both counts of
breach of fiduciary duty, and unlawful and fraudulent business practices are inadequately pled. By way of reference and
for supporting case law, we direct you to Sections I.A-E of Plaintiff’s Memorandum of Law in Support of Plaintiff’s
Motion to Dismiss FF’s Amended Counterclaim. (ECF 90-1) (“Motion to Dismiss”).

Furthermore, FF’s claim for purported violations of New York and California’s rules of professional conduct are
inadequately pled. First, the gravamen of these claims – that a company’s outside counsel cannot join the company as
its GC – is nonsensical and contrary to the general practice of law. Additionally, the SACC fails to allege how Plaintiff
purportedly breached any duty he owed to FF, how he misled FF, and/or what Plaintiff failed to disclose to FF. These
pleading defects are particularly grievous in light of FF’s reckless disregard of the facts underlying the negotiation and
drafting of the Employment Agreement – facts referenced above which FF has failed to disclose to Court.

FF’s claim based on a theory of unconscionability fails, as the SACC does not allege that claims’ required elements.

As to Plaintiff’s motion to strike, Plaintiff will seek to strike all of FF and Smart King’s affirmative defenses for the reasons
set forth in Plaintiff’s Motion to Dismiss. By way of a reference to applicable case law, we direct you to Section IV of
Plaintiff’s Motion to Dismiss.

Potential resolution of this matter can be achieved subject to your withdrawal of the SACC and your affirmative
defenses, in addition to payment of legal fees of Plaintiff’s counsel.

We are available to discuss this with you on Monday or Tuesday of the coming week, March 22nd or 23rd. Please let us
know when you are available.

Regards,

-Jake


Jake Nachmani, Esq.
Counsel
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1723
Mobile: (323) 810-0044
www.seidenlawgroup.com



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                                                                2

                                                                                               Exhibit 2, Page 9
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 9 of 44 Page ID
                                  #:841




                   EXHIBIT 3
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 10 of 44 Page ID
 Troutman Pepper Hamilton Sanders LLP
                                      #:842
 5 Park Plaza, Suite 1400
 Irvine, CA 92614

 troutman.com


 Jeffrey M. Goldman
 D 949.567.3547
 F 866.728.3537
 jeffrey.goldman@troutman.com



 Via E-mail

 March 22, 2021

 Jake Nachmani
 Seiden Law Group, LLP
 469 Seventh Avenue, 5thFl.
 New York, NY 10018
 jnachmani@seidenlegal.com

 Re:     Meet and Confer re Motion to Dismiss Counterclaimant Faraday & Future’s Second
         Amended Cross-Complaint

 Dear Mr. Nachmani:

 We write in response to your email below, in which you have threatened to file an unmeritorious
 motion to dismiss Counterclaimant Faraday & Future’s (“Counterclaimant”) Second Amended
 Cross-Complaint (“SAC”).

 Liu Has Once Again Violated C.D. Cal. L.R. 7-3

 Central District of California Local Rule 7-3 expressly mandates that the meet and confer
 conference prerequisite to your threatened motion to dismiss be conducted no less than seven
 (7) days prior to your March 25, 2021 deadline to file that motion. As such, your e-mail sent
 after the close of business on Friday, March 19, 2021, first seeking to coordinate a meet-and-
 confer call during the week of March 22, 2021, is both untimely and in direct violation of Local
 Rule 7-3 which required completion of that meet-and-confer conference by no later than
 Thursday, March 18, 2021. See C.D. Cal. L.R. 7-3.

 Notably, this is the second time in less than three weeks that Plaintiff Hong Liu (“Liu”) has failed
 to meet-and-confer at least seven days before his filing deadline in violation of Central District of
 California Local Rule 7-3’s unambiguous requirements, despite having been expressly and
 repeatedly advised of those requirements by Counterclaimant verbally, in written
 correspondence, and in a court filing. Furthermore, Liu’s continuing failure and refusal to abide
 by Central District of California Local Rule 7-3 is prejudicial to Counterclaimant as it is a tactic
 now transparently being used by Liu to attempt to delay the pleadings from being “closed” in
 order to prevent Counterclaimant from filing its previously referenced Motion for Judgment on
 the Pleadings in response to Liu’s Complaint. To that end, in addition to the fact that Liu’s
 threatened Motion to Dismiss will not be heard until April 22, 2021, at the earliest, it also is not
 clear whether the Court will issue a ruling that day, or how much time the Court would provide (i)
 Liu to answer the SAC in the event his threatened motion to dismiss is denied; or (ii)



                                                                             Exhibit 3, Page 10
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 11 of 44 Page ID
                                   #:843
 Jake Nachmani
 March 22, 2021
 Page 2




 Counterclaimant to amend should that motion be granted. Accordingly, please let us know
 immediately whether Liu is willing to agree to extend the current May 11, 2021 motion cut-off
 date to allow Counterclaimant to file the Motion for Judgment on the Pleadings up to seven days
 after the pleadings are “closed,” absent which Counterclaimant reserve, and will pursue, all
 appropriate actions available to it in response to Liu’s open flouting of Local Rule 7-3, and to
 redress the obvious and intended prejudice resulting from that violation.

 Liu’s Proffered Motion to Dismiss Arguments are Legally Baseless

 Without waiving, and in express reservation of, Counterclaimant’s position that the Motion to
 Dismiss should be stricken or denied by virtue of your violation of Local Rule 7-3, we turn now to
 your vague allusions to the grounds of Liu’s claims.

 First, the SAC’s causes of action relating to your client’s violations of the Rules of Professional
 Conduct, and the statutory bars on practicing law without a license in California, are clearly not
 grounded in fraud. Rather, they are properly based on Liu’s manifest failures to abide by his
 ethical obligations and to clear conflicts of interest, the “mere instance” of which—contrary to
 being subject to any “heightened” pleading standard baldly proclaimed in your letter—actually
 and legally gives rise to a presumption of undue influence by Liu, which he cannot rebut here:

                  ‘[A] transaction between an attorney and client which occurs during
                  the relationship and which is advantageous to the attorney is
                  presumed to violate that fiduciary duty and to have been entered
                  into without sufficient consideration and under undue
                  influence.’ (Lewin v. Anselmo (1997) 56 Cal.App.4th 694, 701 [65
                  Cal. Rptr. 2d 682].) As explained long ago in Felton v. Le
                  Breton (1891) 92 Cal. 457, 469 [28 P. 490]: ‘While an attorney is
                  not prohibited from having business transactions with his client, yet,
                  inasmuch as the relation of attorney and client is one wherein the
                  attorney is apt to have very great influence over the client,
                  especially in transactions which are a part of or intimately
                  connected with the very business in reference to which the relation
                  exists, such transactions are always scrutinized by courts with
                  jealous care, and are set aside at the mere instance of the client,
                  unless the attorney can show by extrinsic evidence that his client
                  acted with full knowledge of all the facts connected with such
                  transaction, and fully understood their effect; and in any attempt by
                  the attorney to enforce an agreement on the part of the client
                  growing out of such transaction, the burden of proof is always upon
                  the attorney to show that the dealing was fair and just, and that the
                  client was fully advised.’ (See also Gold v. Greenwald (1966) 247
                  Cal. App. 2d 296, 305 [55 Cal. Rptr. 660].)

 BGJ Assocs. v. Wilson, 113 Cal. App. 4th 1217, 1227-28 (2003).



                                                                              Exhibit 3, Page 11
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 12 of 44 Page ID
                                   #:844
 Jake Nachmani
 March 22, 2021
 Page 3




 Liu cannot rebut the presumption of his undue influence over Counterclaimant for several
 reasons, including his indisputable failure to give Counterclaimant “all that reasonable advice
 against himself that he would have given him against a third person” (Beery v. State Bar, 43
 Cal. 32 802, 813 (1987)), let alone do so at the pleading stage where all of Counterclaimant’s
 allegations are required to be accepted as true. Moreover, even assuming, incorrectly, that a
 heightened pleading standard did hypothetically apply, Counterclaimant clearly met that
 hypothetical standard by detailing the obligations owed to it by Liu, as well as Liu’s failures to
 abide by those obligations prior to executing the Employment Agreement, legally entitling
 Counterclaimant to redress Liu’s ethical violations through the SAC’s causes of actions seeking
 (i) to rescind or otherwise invalidate the Employment Agreement; as well as (ii) the forfeiture of
 fees. See, e.g., Fair v. Bakhtiari, 195 Cal. App. 4th 1135, 1153 (2011) (“An attorney may violate
 the statute and breach his or her fiduciary duties to the client without causing the client
 damages. It makes sense to require proof of damages where the client seeks compensatory
 damages as a tort remedy for breach of fiduciary duty, but not if the client seeks only forfeiture
 of fees. The purpose of compensatory damages is to make plaintiffs whole for harm caused by
 defendants. Forfeiture of legal fees serves several different purposes. It deters attorney
 misconduct and recognizes that damage caused by attorney misconduct is often difficult to
 assess. It prevents fiduciaries from profiting from their fiduciary breach and disloyalty. Like
 compensatory damages, it compensates clients for harm they have suffered, but it reflects not
 the harms the clients suffer from the tainted representation, but the decreased value of the
 representation itself.”) (citations omitted).

 Second, your unsubstantiated contentions as to the timing of the SAC are belied by the Court’s
 recent Order confirming the propriety of Counterclaimant’s filing of the SAC as a matter of right
 and correspondingly denying Liu’s immediately prior motion to dismiss as moot.

 Finally, the SAC’s gravamen is not, as you claim, “that a company’s outside counsel cannot join
 the company as its GC.” To the contrary, as evident on its face, the gravamen of the SAC is
 that a “company’s outside counsel cannot join the company as its GC” unless he complies
 with the Rules of Professional Responsibility and related statutory authority in
 negotiating his agreement with the company. Put simply, Liu was in a position of trust with
 Counterclaimant as the lead attorney representing it at Mayer Brown, and was legally required
 to inform it of each of the matters detailed in the SAC. Rather than do so, Liu used his ethical
 violations to financially benefit himself to the detriment of his client, while simultaneously
 practicing law in California without a license. As plainly established by the law cited in the SAC,
 as well as above, all of these matters are properly alleged in the SAC and are legally not subject
 to dismissal.

 Counterclaimant Did Not Omit Any Necessary Allegations

 Contrary to your position, there are no “undisclosed” facts that needed to be pleaded in the
 SAC. Counterclaimant has set forth the pertinent and unvarnished facts, and needs not present
 facts that are irrelevant to the SAC, Liu’s attempt to avoid the consequences of his unethical




                                                                            Exhibit 3, Page 12
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 13 of 44 Page ID
                                   #:845
 Jake Nachmani
 March 22, 2021
 Page 4




 conduct by manufacturing statements that he would have liked to see in the SAC,
 notwithstanding. To that end, and by way of representative example:

 Your claim that Sidley Austin “reviewed and approved of the Employment Agreement’s terms” is
 a gross misstatement of fact. Sidley Austin did not represent Counterclaimant in the transaction
 with Liu. Indeed, even assuming, incorrectly, that were not the case, the presence of any
 independent counsel on Counterclaimant’s behalf would not legally condone Liu’s violations of
 the Rules of Professional Conduct. Moreover, the fact that Liu’s false suppositions are
 premised upon alleged matters to which he purportedly was exposed while serving as
 Counterclaimant’s counsel (either at Mayer Brown or while employed by Counterclaimant), is
 itself troubling, as well as gives rise to Liu’s commission of additional ethical violations,
 particularly where his use of any privileged information in any way, shape, or form is legally
 prohibited, and would constitute further breaches of his ethical obligations and of his duty of
 loyalty. See, e.g., Cal. R. Prof. Resp. 1.8.2; N.Y. R. Prof. Resp. 1.8(b). Please be advised that,
 Iif Liu presents any privileged information in his threatened motion to dismiss, Counterclaimant
 will pursue any and all available remedies.

 Similarly, your claim that Mr. Wang’s English is “perfectly sophisticated” is irrelevant, as
 Counterclaimant properly and accurately alleged that he is not a native English speaker and Liu,
 who previously communicated with Mr. Wang extensively in Mandarin, cannot deny the truth of
 that statement, particularly on a motion to dismiss.

 Finally, your claim that “numerous material terms were initially included in the Employment
 Agreement’s Term Sheet” and that Counterclaimant “accepted numerous material terms sought
 by FF,” does not obviate Liu’s obligations to abide by his ethical obligations. To the contrary, if
 anything, it’s damning to Liu’s defense if he allegedly saw material terms that unfairly benefitted
 him before a formal agreement was prepared, and thereafter failed to provide the required
 disclosures, failed to obtain the necessary informed written consent and conflict waivers, and
 failed to provide all of the reasonable advice against himself that he would have given him
 against a third person, as all required by law.

 Conclusion

 It is our sincere hope that Liu will refrain from filing his threatened, legally spurious motion to
 dismiss. Should he proceed to do so, Counterclaimant will have no choice but to pursue all
 appropriate remedies available to it. In the hope of persuading Liu to comply with his legal
 obligations to refrain from filing his threatened motion to dismiss, without waiving, and in




                                                                               Exhibit 3, Page 13
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 14 of 44 Page ID
                                   #:846
 Jake Nachmani
 March 22, 2021
 Page 5




 express reservation of, Counterclaimant’s rights with respect to Liu’s above-referenced violation
 of Local Rule 7-3, we are available to meet and confer at any time after 10:00 a.m. PST on
 Tuesday, March 23, 2021.

 Sincerely,



 Jeffrey M. Goldman




                                                                          Exhibit 3, Page 14
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 15 of 44 Page ID
                                   #:847




                    EXHIBIT 1
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 16 of 44 Page ID
 Troutman Pepper Hamilton Sanders LLP
                                      #:848
 5 Park Plaza, Suite 1400
 Irvine, CA 92614

 troutman.com


 Jeffrey M. Goldman
 D 949.567.3547
 jeffrey.goldman@troutman.com




 Via E-mail Only

 March 15, 2021
 Jake Nachmani, Esq.
 Seiden Law Group LLP
 469 7th Avenue, 5th Floor
 New York, NY 10018


 Re:     Meet and Confer Correspondence Pursuant to Central District of California Local
         Rule 7-3

 Dear Mr. Nachmani:

         I write to institute the Meet and Confer process required by the Central District of California
 Local Rule 7-3 in connection with a Motion for Judgment on the Pleadings as to Plaintiff’s
 Complaint that our clients, Faraday&Future Inc. (“FF”), Smart King Ltd. (“Smart King”), Jiawei
 Wang and Chaoying Deng (collectively, “Defendants”) intend on filing. To that end, this
 correspondence summarizes the governing law requiring the dismissal of each of the Complaint’s
 following alleged causes of action:

 1.      Intentional Infliction of Emotional Distress

          This alleged cause of action is legally required to be dismissed under the California’s
 Worker’s Compensation Act which provides the exclusive remedy for Plaintiff Hong Liu’s (“Liu”)
 claim for intentional infliction of emotional distress. See, e.g., Miklosy v. Regents of Univ. of Cal.,
 44 Cal. 4th 876, 902 (2008) (“Plaintiffs allege defendants engaged in ‘outrageous conduct’ that
 was intended to, and did, cause plaintiffs ‘severe emotional distress,’ giving rise to common law
 causes of action for intentional infliction of emotional distress. The alleged wrongful conduct,
 however, occurred at the worksite, in the normal course of the employer-employee relationship,
 and therefore workers' compensation is plaintiffs' exclusive remedy for any injury that may have
 resulted.”); Thomas v. Stars Entm’t LLC, Case No. 2:15-cv-09239-CAS(MRWx), 2016 WL
 844799, *8 (C.D. Cal. Feb. 29, 2016) (where “alleged conduct occurred while plaintiff was either
 at work, performing functions required by his employment, or attending meetings regarding his
 work,” and where “the majority, if not all, of . . . alleged misconduct relates to . . . efforts to
 discipline, and ultimately fire, plaintiff,” a claim for intentional infliction of emotional distress is
 based on a “normal part of the employment relationship” and is therefore barred by the Worker’s
 Compensation Act (citations omitted)).




                                                                               Exhibit 4, Page 15
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 17 of 44 Page ID
                                   #:849
 Jake Nachmani, Esq.
 March 15, 2021
 Page 2




 2.     Breach of Contract

        As detailed in Defendants’ Second Amended Counterclaim, the Employment Agreement
 can conceivably only constitute a valid and enforceable agreement if Liu complied with New York
 Rules of Professional Conduct 1.5, 1.7, and 1.8, as well as with California Rules of Professional
 Conduct 3-310, 3-300, and 4-200.

          As evident on its face, the Complaint fails to allege Liu’s compliance with those rules, and
 therefore fails to plead the existence of a legally enforceable contract between Liu, Smart King
 and FF under governing law. See, e.g., Fletcher v. Davis, 33 Cal. 4th 61, 71 (2004) (affirming
 trial court’s sustaining of demurrer to attorney’s claim for fees pursuant to a charging lien where
 attorney failed to allege compliance with and failed to abide by California Rule of Professional
 Conduct 3-300); Fletcher v. Gilbert, Case No. CV 06-05048-SJO (RNB), 2006 U.S. Dist. LEXIS
 103689, at *7 (C.D. Cal. Oct. 12, 2006) (finding that “the California Supreme Court [in Fletcher v.
 Davis, supra] assumed that the facts as alleged in plaintiff's Superior Court complaint were true
 and that plaintiff could not plead facts showing the perfection of a lien on the judgment obtained
 by his former client or that the defendants in the Superior Court action had knowledge of such a
 lien.”); Luna & Glushon v. Tri-Valley Corp. (In re Tri-Valley Corp.), 2013 Bankr. LEXIS 1783, at
 *11–12 (Bankr. D. Del. May 1, 2013) (“Based on the decision in Fletcher [v. Davis], the Court
 concludes that under California law, attorneys must plead in their complaint that they complied
 with Rule 3-300 when seeking a declaratory judgment that they have a charging lien for hourly
 fees. Here, L&G failed to do so. The Complaint and the Fee Agreement are silent as to whether
 or not L&G advised the Debtors in writing of their right to seek the advice of an independent lawyer
 or whether the Debtors consented after a reasonable opportunity to seek such advise (sic). The
 Court will, therefore, grant the Debtors' Motion to Dismiss the Complaint.”) Furthermore, Liu
 cannot amend to fix this pleading deficiency without violating Federal Rule of Civil Procedure 11,
 since it is not disputable that he failed to abide by the aforementioned rules of professional
 conduct.

 3.     Section 10(b) of the Exchange Act and Rule 10(b)-5

          Liu’s alleged 10(b)-5 is similarly untenable. That is because the options at issue in the
 Employment Agreement were not “sold” to Liu. Moreover, Liu’s contention that “[b]y accepting an
 offer of employment in exchange for receiving securities, Mr. Liu effectively purchased securities”
 is a non-sequitur, particularly where Liu does not identify what it was from Smart King or FF he
 agreed to forego in exchange for the options. (Compl., ¶120.) As held by the U.S. Supreme
 Court in International Board of Teamsters, Chauffeurs, Warehousemen & Helpers of Am. v.
 Daniel, 439 U.S. 551, 559 (1979):




                                                                             Exhibit 4, Page 16
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 18 of 44 Page ID
                                   #:850
 Jake Nachmani, Esq.
 March 15, 2021
 Page 3




                In every decision of this Court recognizing the presence of a
                ‘security’ under the Securities Acts, the person found to have been
                an investor chose to give up a specific consideration in return for a
                separable financial interest with the characteristics of a
                security. . . . No portion of an employee's compensation other than
                the potential pension benefits has any of the characteristics of a
                security, yet these noninvestment interests cannot be segregated
                from the possible pension benefits. Only in the most abstract sense
                may it be said that an employee ‘exchanges’ some portion of his
                labor in return for these possible benefits. He surrenders his labor
                as a whole, and in return receives a compensation package that is
                substantially devoid of aspects resembling a security. His decision
                to accept and retain covered employment may have only an
                attenuated relationship, if any, to perceived investment possibilities
                of a future pension. Looking at the economic realities, it seems
                clear that an employee is selling his labor primarily to obtain a
                livelihood, not making an investment.

          Nor were the options at issue “purchased” by Liu simply because he allegedly gave an
 “income stream and retirement benefits from his Mayer Brown partnership,” (Compl., ¶120),
 particularly where the undefined and speculative value of Liu’s alleged partnership and revenue
 stream does not constitute any form of legal consideration provided by Liu to Smart King or FF.
 See, e.g., Wyatt v. Cendant Corp., 81 F. Supp. 2d 550, 558 (D.N.J. 2000) (no standing where
 employee does not give anything of value for stock other than employment services); McLaughlin
 v. Cendant Corp., 76 F. Supp. 2d 539, 550 (D.N.J. 1999) (same); Fraser v. Fiduciary Trust Co.
 Int'l, 417 F. Supp. 2d 310, 318 (S.D.N.Y. 2006) (same).

 4.     Fraudulent Inducement and Negligent Misrepresentation

        These claims fail for several reasons.

          First, Liu’s fraudulent inducement claim hinges upon allegations that all Defendants
 “falsely represented that in December 2017, Evergrande had invested $2 billion in Smart King in
 a Series A offering that valued Smart King at $4.5 billion. Defendants also falsely represented
 that Mr. Liu would be entitled to Directors’ and Officers’ insurance while working at Faraday.”
 (Compl., ¶ 125.) The former statement is belied by the Employment Agreement itself attached
 and incorporated into the Complaint, which expressly provides that Smart King and FF “had
 successfully completed first closing of Series A financing in December 2017, which is subject
 to CFIUS approval. . . .” (Id., Ex. A, p. 2 (emphasis added).) In light of the Employment
 Agreement’s patent disclosure that the subject financing had not been completed or approved in
 its entirety, there neither is, nor can be, any reasonable reliance by Liu on any alleged pre-
 contractual representations that a definitive investment purported had been made and remitted.




                                                                            Exhibit 4, Page 17
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 19 of 44 Page ID
                                   #:851
 Jake Nachmani, Esq.
 March 15, 2021
 Page 4




         Second, the Complaint’s fraud claim is implausible under the U.S. Supreme Court’s
 seminal decisions in Iqbal and Twombly, let alone sufficient under Federal Rule of Civil Procedure
 9’s heightened pleading standard. More particularly, it is implausible that Liu would not have
 joined Smart King and FF had he known that the Series A financing had allegedly not been
 completed or D&O insurance had not been procured, in light of the egregiously one-sided multi-
 million dollar package, complete with acceleration clauses, to which he secured Smart King and
 FF’s agreement. Certainly he will not be able to show that Mayer Brown would have guaranteed
 him that much money on similar terms.

         Third, the Complaint fails to allege causation with respect to the fraudulent inducement or
 the negligence claim. In particular, Liu has not pled that Smart King and FF were unable to pay
 all amounts owed on the Employment Agreement or provide options, but rather, that they simply
 had not paid all amounts allegedly due and owing. In other words, Liu’s claim is that the
 Employment Agreement was breached and thus money is owed; not that the Company lacked
 the ability pay him at the time the parties entered the Employment Agreement.

          Fourth, and related to the immediately preceding point, the Complaint’s alleged fraudulent
 inducement and negligent misrepresentation claims are subject to the economic loss rule,
 especially where those claims specifically incorporate, and impermissibly attempt to repackage,
 Liu’s alleged breach of contract claim as torts. See, e.g., Aas v. Super. Ct., 24 Cal. 4th 627, 643
 (2000) (a party “may not ordinarily recovery in tort for breaches of duties that merely restate
 contractual obligations”), superseded on other grounds by Cal. Civ. Code, §§ 895 et seq.; JMP
 Sec. LLP v. Altair Nanotechnologies, Inc., 880 F. Supp. 2d 1029, 1042 (N.D. Cal. 2012) (“[N]o tort
 cause of action will lie where the breach of duty is nothing more than a violation of a promise
 which undermines the expectations of the parties to an agreement.”); Sam Rubin Ent., Inc. v.
 AARP, Inc., No. CV 16-6431-RSWL-SSX, 2016 WL 7336554, at *7 (C.D. Cal. Dec. 15, 2016)
 (dismissing fraudulent inducement claim under economic loss rule). Liu additionally neither has,
 nor can, allege that Smart King’s and FF’s alleged fraud or negligent misrepresentations
 purportedly subjected him to liability to third parties thereby further requiring dismissal of the
 Complaint’s fraudulent inducement and negligent misrepresentation claims under the economic
 loss rule on that separate and independent ground, as well

         Finally, the negligent misrepresentation claim merely recites the elements of the cause of
 action without any, much less with the requisite, specificity. It thus fails to meet the Rule 9
 standard, and is legally required to be dismissed. See, e.g., Arch Ins. Co. v. Allegiant Prof’l Bus.
 Servs., No. CV 11-1675 CAS (PJWx), 2012 U.S. Dist. LEXIS 56605, at *7 (C.D. Cal. Apr. 23,
 2012) (“The requirement of specificity in a fraud action against a corporation requires the plaintiff
 to allege the names of the persons who made the allegedly fraudulent representations, their
 authority to speak, to whom they spoke, what they said or wrote, and when it was said or written.”).
 The Complaint’s negligent misrepresentation cause of action further fails to adequately allege the
 identity of the “special relationship” between any of the Defendants, let alone all of them, and Liu
 (Compl., ¶ 144), and similarly fails to allege any specific facts whatsoever establishing how
 Chaoying Deng and Jiawei Wang legally can be held personally liable under the Complaint’s
 alleged fraudulent inducement and negligent misrepresentation claims.




                                                                             Exhibit 4, Page 18
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 20 of 44 Page ID
                                   #:852
 Jake Nachmani, Esq.
 March 15, 2021
 Page 5




 5.     Wrongful Termination in Violation of Public Policy

        The Complaint fails to plausibly state a claim for wrongful termination. Instead, it only (i)
 alleges certain concerns Liu had with the way the Company operated; and (ii) recites actions he
 purportedly took in his capacity as General Counsel. (See Compl., ¶¶ 70–72.) Those allegations
 are legally insufficient for at least two independently dispositive reasons.

         First, Liu has not alleged any statutory or constitutional provision giving rise to a
 fundamental public policy prerequisite to maintenance of the Complaint’s purported Wrongful
 Termination claim. See Stevenson v. Super. Ct., 16 Cal. 4d 880, 889–90 (1997). Likewise, Liu
 has failed to allege, let alone establish, how any such policy inures to the benefit of the public as
 opposed to Liu’s own personal interests. Id. Nor has Liu explained how that unalleged policy is
 “fundamental” and “substantial.” Id.

         Second, Liu fails to offer any explanation, let alone a plausible one, as to how performing
 his job functions in the Legal Department somehow gives rise to a wrongful termination claim.
 Under governing California Supreme Court law, wrongful termination claims brought by in-house
 counsel not only are disfavored and limited, but also are required to be “grounded in explicit and
 unequivocal ethical norms embodied into Rules of Professional Responsibility and statutes, and
 claims which are maintainable by the non- attorney employee . . . under circumstances in which
 the Legislature has manifested a judgment that the principle of professional confidentiality does
 not apply.” Gen. Dynamics Corp. v. Super. Ct., 7 Cal. 4th 1164, 1189–90 (1994) (emphasis in
 original). Id. (citations omitted). Despite those legal requirements, Liu neither has identified any
 such explicit and unequivocal ethical norms or statutes, nor has alleged any circumstance for
 which the California Legislature has manifested its judgment that a principle of professional
 confidentiality would not apply.

         In fact, by revealing the internal secrets of FF and Smart King in his publicly-filed
 Complaint while lacking any grounds for believing that confidentiality does not apply, Liu has again
 violated his ethical responsibilities. (See, e.g., Compl., ¶¶ 64, 71, 72, 74, 83). This is true under
 both California and New York law. See, e.g., Strickland v. City of Inglewood, No. CV 08-1595
 ABC(CTx), 2009 U.S. Dist. LEXIS 136870, at *4-5 (C.D. Cal. Apr. 23, 2009) (“California attorneys,
 such as plaintiff, are constrained by an ethical obligation not to disclose client confidences and
 secrets. Cal. Bus. & Prof. Code § 6068 (e) (2004). This is a broader prohibition than the
 evidentiary attorney-client privilege. Goldstein v. Lees, 46 Cal. App. 3d 614, 621, 120 Cal. Rptr.
 253 (1975). It precludes an attorney from disclosing not only confidential communications made
 for the purposes of obtaining legal representation, but any information that might be detrimental
 to a client's interests. See Matter of Johnson, 4 Cal. State Bar Ct. Rptr. 179, 189 (2000)
 (disclosure of fact that client was a convicted felon); ABA Model Rule of Prof. Conduct 1.6 (a)
 (2009), and Comment (5) (absent client consent, lawyer prohibited from revealing confidential
 client information except as necessary to carry out representation); Rest.3d Law Governing
 Lawyers § 59 (2000) ("confidential client information" is ‘information relating to representation of
 a client, other than information that is generally known’"). Also unlike the attorney-client privilege,
 the California attorney’s duty to preserve client confidences applies equally to ancillary, non-legal
 business services. See Cal. Prac. Guide Prof. Resp., 7:28.2 (citing Cal. State Bar Form. Opn.




                                                                              Exhibit 4, Page 19
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 21 of 44 Page ID
                                   #:853
 Jake Nachmani, Esq.
 March 15, 2021
 Page 6




 1995-141). This duty outlives the attorney-client relationship, and it even survives in a wrongful
 termination case, such as this one, brought by an attorney against her former client. See General
 Dynamics v. Sup. Ct. (Rose), 7 Cal. 4th 1164, 1190, 32 Cal. Rptr. 2d 1, 876 P.2d 487 (1994));
 NCK Org., Ltd. v. Bregman, 542 F.2d 128, 133 (2d Cir. 1976) (“[The] client's privilege in confidential
 information disclosed to his attorney ‘is not nullified by the fact that the circumstances to be disclosed
 are part of a public record, or that there are other available sources for such information, or by the fact
 that the lawyer received the same information from other sources.’”) (citation omitted); U.S. v. Mackey,
 405 F. Supp. 854, 865 (E.D.N.Y. 1975) (“Attorneys, in particular, are under a
 professional ethical obligation to refuse to disclose confidential matters.”) (citing A.B.A. Code of
 Professional Responsibility, Canon 4).

         It is for this very reason that “the in-house attorney who publicly exposes the client’s
 secrets will usually find no sanctuary in the courts[,]” and that where, as here, “the elements of a
 wrongful discharge in violation of fundamental public policy claim cannot, for reasons peculiar to
 the particular case, be fully established without breaching the attorney-client privilege, the suit
 must be dismissed in the interest of preserving the privilege.” Gen. Dynamics Corp., 7 Cal.
 4th at 1190 (emphasis added).

        Given the foregoing, it is clear that Liu cannot maintain this cause of action, particularly
 where doing so will necessarily result in his violating both the privilege and his ethical duties of
 confidentiality.

 6.      Declaratory Relief

         For each of the foregoing reasons, the Complaint’s alleged declaratory relief cause of
 action is correspondingly defective and legally required to be dismissed. See, e.g., Renovate
 Am., Inc. v. Lloyd’s Syndicate 1458, No. 3:19-cv-01456-GPC-WVG, 2019 U.S. Dist. LEXIS
 212874, at *14 (S.D. Cal. Dec. 10, 2019) (a declaratory relief request “rises and falls with the
 substantive claims to that effect” because the "Declaratory Judgment Act creates a remedy for litigants
 but is not an independent cause of action.") (citation omitted).

 Please provide us with the dates and times you are available this week to conduct a telephonic
 meet-and-confer conference on the foregoing matters.

 Thank you in advance for your anticipated cooperation.

 Sincerely,




 Jeffrey M. Goldman




                                                                                 Exhibit 4, Page 20
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 22 of 44 Page ID
                                   #:854




                    EXHIBIT 5
     Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 23 of 44 Page ID
                                        #:855



From:                             Jake Nachmani <jnachmani@seidenlawgroup.com>
Sent:                             Tuesday, March 16, 2021 10:45 AM
To:                               Goldman, Jeffrey M.; Crisp, Kevin; Kessel, Alan J.; Grochow, Lauren; Willow-Johnson,
                                  Mackenzie Lee
Cc:                               Amiad Kushner; Andrew Sklar; Kevin Hughes
Subject:                          RE: Liu v. Faraday&Future, Inc., et al.
Attachments:                      2021-03-15 Letter to J. Nachmani re L.R. 7-3 Meet & Confer re MJOP.pdf



EXTERNAL SENDER

Counsel,

We are in receipt of and have reviewed the below-referenced (and attached) letter dated March 15, 2021 (“March 15
Letter”). We write in response thereto.

As a preliminary matter, Plaintiff is willing to meet and confer with you on the substance of your motion for judgment on
the pleadings, pursuant to Rule 12(c) of the Federal Rules of Civil Procedure (“Rule 12(c)”).

However and as you should know, a motion under Rule 12(c) may be filed only “[a]fter the pleadings are closed.” Fed.
R. Civ. P. 12(c). Because Rule 7(a) of the Federal Rules of Civil Procedure designates a counterclaim as a pleading, the
Ninth Circuit holds that, for the purposes of Rule 12(c), the pleadings are closed only when the counterclaim too is
closed. See Doe v. United States, 419 F.3d 1058, 1061 (9th Cir. 2005).

Here, FF’s 12(c) motion is entirely premature, as the pleadings are not closed. Indeed, FF’s filing the Second Amended
Counterclaim (ECF 95) (“SACC”) has kept the pleadings open, rendering the filing of Defendants’ 12(c) motion
premature. Plaintiff has not yet answered and/or moved to dismiss the SACC. Underscoring the relevance of this, FF
relies squarely on the allegations (albeit defective ones) in the SACC as grounds for dismissal of Plaintiff’s breach of
contract claim. See March 12, 2021 Letter at 2. Moreover, in the event that Plaintiff moves to dismiss some or all of FF’s
new-fangled counterclaims, the pleadings will be closed only after the Court resolves that motion, subject to Plaintiff’s
having filed his reply brief. Accordingly and for all these reasons, the pleadings are not closed, and FF’s motion is
untimely; caselaw from within this Circuit is clear on this. See Buckhorn v. Hettinger, 2020 WL 5910070, at *7 (N.D. Cal.
Oct. 6, 2020) (denying defendant’s motion to dismiss on the pleadings where defendant had also filed a counterclaim
which, at the time of defendant’s 12(c) motion, plaintiff had not yet answered); Johnson v. Mazza, 2016 WL 11505262,
at *3 (C.D. Cal. Sept. 20, 2016) (noting that defendants’ 12(c) motion was timely only because (i) defendants had filed an
answer and (ii) “no counterclaim or cross-claims ha[d] been filed.”); Sebastian Brown Prods. LLC v. Muzooka Inc., 2016
WL 949004, at *4 (N.D. Cal. Mar. 14, 2016) (noting that defendants’ motion to dismiss complaint under 12(c) was
premature because defendants had filed a counterclaim which plaintiff had not yet answered); IconFind, Inc. v. Google,
Inc., 2011 WL 4505817, at *1 (E.D. Cal. June 3, 2011) (dismissing defendant’s12(c) motion as premature where
defendant also filed counterclaims to which plaintiff had not yet responded).

Moreover, given the June 2021 trial date, it is hard to imagine that this motion, whether prematurely brought pursuant
to your March 15 Letter or upon disposition of FF’s SACC, would not delay trial, providing an additional basis for why this
motion should not be brought.

To the extent Defendants can provide controlling case law to the contrary, please share that with us expeditiously.

We are available to meet and confer with you on this motion on Friday, March 19, 2021 or on Monday of next week.


                                                             1

                                                                                         Exhibit 5, Page 21
        Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 24 of 44 Page ID
                                           #:856
Regards,

-Jake


Jake Nachmani, Esq.
Counsel
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1723
Mobile: (323) 810-0044
www.seidenlawgroup.com



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From: Lybarger, Felisa H. <Felisa.Lybarger@troutman.com>
Sent: Tuesday, March 16, 2021 12:08 AM
To: Jake Nachmani <jnachmani@seidenlawgroup.com>; Amiad Kushner <akushner@seidenlawgroup.com>; Andrew
Sklar <asklar@seidenlawgroup.com>; Kevin Hughes <kevin@foundationlaw.com>
Cc: Goldman, Jeffrey M. <Jeffrey.Goldman@troutman.com>; Crisp, Kevin <Kevin.Crisp@troutman.com>; Kessel, Alan J.
<Alan.Kessel@troutman.com>; Grochow, Lauren <Lauren.Grochow@troutman.com>; Willow-Johnson, Mackenzie Lee
<Mackenzie.Willow-Johnson@troutman.com>
Subject: Liu v. Faraday&Future, Inc., et al.

Dear Counsel:

Please see the attached letter.

Thank you,

Felisa H. Lybarger
Legal Practice Assistant
Direct: 949.622.2750 | Internal: 18-2750
felisa.lybarger@troutman.com
────────────
troutman pepper
5 Park Plaza, Suite 1400
Irvine, CA 92614
troutman.com
────────────
                                                            2

                                                                                       Exhibit 5, Page 22
       Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 25 of 44 Page ID
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A HIGHER COMMITMENT TO CLIENT CARE

Troutman Pepper is a 2020 Mansfield Certified Plus Firm
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                                                                                        Exhibit 5, Page 23
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 26 of 44 Page ID
                                   #:858




                    EXHIBIT 6
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 27 of 44 Page ID
                                   #:859


  1   Kevin D. Hughes (Bar No. 188749)
      FOUNDATION LAW GROUP LLP
  2   1999 Avenue of the Stars, Suite 1100
      Los Angeles, CA 90067
  3   Tel: 424.253.1266
      Email: kevin@foundationlaw.com
  4
      Amiad Kushner (pro hac vice)
  5   Jake Nachmani (pro hac vice)
      SEIDEN LAW GROUPth LLP
  6   469 Seventh Avenue, 5 Fl.
      New York, NY 10018
  7   Tel: 646.766.1914
      Email: akushner@seidenlawgroup.com
  8           jnachmani@seidenlawgroup.com
  9   Attorneys for Plaintiff/Counter-Defendant
      Hong Liu
 10
                          UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12                            WESTERN DIVISION
 13   HONG LIU,                                   CASE NO. 2:20-cv-08035-SVW-JPR
 14               Plaintiff,                      Honorable Stephen V. Wilson
 15         v.
 16   FARADAY&FUTURE INC., SMART
      KING LTD., JIAWEI WANG, and                 NOTICE OF DEPOSITION OF
 17   CHAOYING DENG.                              XIAO QIANG WU
 18               Defendants.
 19
 20   FARADAY&FUTURE INC.,
 21               Counterclaimant,
 22         v.
 23   HONG LIU,
 24               Counter-Defendant.
 25
 26
 27
 28                                          -1-
                                     NOTICE OF DEPOSITION


                                                               Exhibit 6, Page 24
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 28 of 44 Page ID
                                   #:860


  1         PLEASE TAKE NOTICE THAT, pursuant to Rule 30(b)(1) of the Federal
  2   Rules of Civil Procedure, Plaintiff/Counter-Defendant Hong Liu (“Plaintiff”) will
  3   take the deposition of Xiao Qiang Wu (“Wu” or “Deponent”) on April 19, 2021,
  4   starting at 9:30 A.M. at Foundation Law Group LLP, 1999 Avenue of the Stars,
  5   Suite 1100, Los Angeles, CA 90067.
  6         The deposition will be taken remotely, by Veritext Virtual, Zoom or other
  7   remote service. The deponent will need to connect via a stable internet connection
  8   on a video link. The deposition will be taken under oath and by oral examination
  9   before a certified court reporter and will be recorded by audio/video recording and
 10   stenographic means.
 11         PLEASE TAKE FURTHER NOTICE that Plaintiff expects the deposition to
 12   include material designated “Confidential” under the mutually agreed upon
 13   Protective Order that will be in place in this Action.
 14         If Deponent requires an interpreter, counsel for deponent shall notify the
 15   noticing party in writing fourteen (14) days prior to the scheduled deposition date.
 16
      Dated: March 23, 2021                FOUNDATION LAW GROUP LLP
 17
                                           By: /s/ Kevin D. Hughes
 18                                                 Attorneys for Plaintiff
 19
 20
 21
 22
 23
 24
 25
 26
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 28
                                                -2-
                                       NOTICE OF DEPOSITION

                                                                  Exhibit 6, Page 25
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 29 of 44 Page ID
                                   #:861


  1
                                    PROOF OF SERVICE
  2
            I am at least eighteen years of age and not a party to this legal action. My
  3   business address is: 469 Seventh Avenue, Fifth Floor, New York, NY 10018.
  4          On March 23, 2021, I served the within documents:
  5    NOTICE OF DEPOSITION OF XIAO QIANG WU
  6    by emailing the document listed above to the following individuals in accord with
  7    the parties’ agreement on email service:
  8
      Lauren E. Grochow
  9   Troutman Pepper Hamilton Sanders LLP
      5 Park Plaza, Suite 1400,
 10   Irvine, California 92614
      Lauren.Grochow@troutman.com
 11
 12   I declare under penalty of perjury under the laws of the United States of America
      that the foregoing is true and correct.
 13
 14   Executed on March 23, 2021, at New York, New York.
 15
 16
                                                     By: /s/ Jake Nachmani
 17
 18
 19
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 21
 22
 23
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                                       NOTICE OF DEPOSITION

                                                                 Exhibit 6, Page 26
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 30 of 44 Page ID
                                   #:862


  1   Kevin D. Hughes (Bar No. 188749)
      FOUNDATION LAW GROUP LLP
  2   1999 Avenue of the Stars, Suite 1100
      Los Angeles, CA 90067
  3   Tel: 424.253.1266
      Email: kevin@foundationlaw.com
  4
      Amiad Kushner (pro hac vice)
  5   Jake Nachmani (pro hac vice)
      SEIDEN LAW GROUPth LLP
  6   469 Seventh Avenue, 5 Fl.
      New York, NY 10018
  7   Tel: 646.766.1914
      Email: akushner@seidenlawgroup.com
  8           jnachmani@seidenlawgroup.com
  9   Attorneys for Plaintiff/Counter-Defendant
      Hong Liu
 10
                          UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12                            WESTERN DIVISION
 13   HONG LIU,                                   CASE NO. 2:20-cv-08035-SVW-JPR
 14               Plaintiff,                      Honorable Stephen V. Wilson
 15         v.
 16   FARADAY&FUTURE INC., SMART
      KING LTD., JIAWEI WANG, and                 NOTICE OF DEPOSITION OF
 17   CHAOYING DENG.                              QING YE
 18               Defendants.
 19
 20   FARADAY&FUTURE INC.,
 21               Counterclaimant,
 22         v.
 23   HONG LIU,
 24               Counter-Defendant.
 25
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 27
 28                                          -1-
                                     NOTICE OF DEPOSITION


                                                               Exhibit 6, Page 27
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 31 of 44 Page ID
                                   #:863


  1         PLEASE TAKE NOTICE THAT, pursuant to Rule 30(b)(1) of the Federal
  2   Rules of Civil Procedure, Plaintiff/Counter-Defendant Hong Liu (“Plaintiff”) will
  3   take the deposition of Qing Ye (a/k/a “Bob Ye”; “Ye” or “Deponent”) on April 13,
  4   2021, starting at 9:30 A.M. at Foundation Law Group LLP, 1999 Avenue of the
  5   Stars, Suite 1100, Los Angeles, CA 90067.
  6         The deposition will be taken remotely, by Veritext Virtual, Zoom or other
  7   remote service. The deponent will need to connect via a stable internet connection
  8   on a video link. The deposition will be taken under oath and by oral examination
  9   before a certified court reporter and will be recorded by audio/video recording and
 10   stenographic means.
 11         PLEASE TAKE FURTHER NOTICE that Plaintiff expects the deposition to
 12   include material designated “Confidential” under the mutually agreed upon
 13   Protective Order that will be in place in this Action.
 14         If Deponent requires an interpreter, counsel for deponent shall notify the
 15   noticing party in writing fourteen (14) days prior to the scheduled deposition date.
 16
      Dated: March 23, 2021                FOUNDATION LAW GROUP LLP
 17
                                           By: /s/ Kevin D. Hughes
 18                                                 Attorneys for Plaintiff
 19
 20
 21
 22
 23
 24
 25
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 28
                                                -2-
                                       NOTICE OF DEPOSITION

                                                                  Exhibit 6, Page 28
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 32 of 44 Page ID
                                   #:864


  1
                                    PROOF OF SERVICE
  2
            I am at least eighteen years of age and not a party to this legal action. My
  3   business address is: 469 Seventh Avenue, Fifth Floor, New York, NY 10018.
  4          On March 23, 2021, I served the within documents:
  5    NOTICE OF DEPOSITION OF QING YE
  6    by emailing the document listed above to the following individuals in accord with
  7    the parties’ agreement on email service:
  8
      Lauren E. Grochow
  9   Troutman Pepper Hamilton Sanders LLP
      5 Park Plaza, Suite 1400,
 10   Irvine, California 92614
      Lauren.Grochow@troutman.com
 11
 12   I declare under penalty of perjury under the laws of the United States of America
      that the foregoing is true and correct.
 13
 14   Executed on March 23, 2021, at New York, New York.
 15
 16
                                                     By: /s/ Jake Nachmani
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                                               -3-
                                       NOTICE OF DEPOSITION

                                                                 Exhibit 6, Page 29
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 33 of 44 Page ID
                                   #:865


  1   Kevin D. Hughes (Bar No. 188749)
      FOUNDATION LAW GROUP LLP
  2   1999 Avenue of the Stars, Suite 1100
      Los Angeles, CA 90067
  3   Tel: 424.253.1266
      Email: kevin@foundationlaw.com
  4
      Amiad Kushner (pro hac vice)
  5   Jake Nachmani (pro hac vice)
      SEIDEN LAW GROUPth LLP
  6   469 Seventh Avenue, 5 Fl.
      New York, NY 10018
  7   Tel: 646.766.1914
      Email: akushner@seidenlawgroup.com
  8           jnachmani@seidenlawgroup.com
  9   Attorneys for Plaintiff/Counter-Defendant
      Hong Liu
 10
                          UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12                            WESTERN DIVISION
 13   HONG LIU,                                   CASE NO. 2:20-cv-08035-SVW-JPR
 14               Plaintiff,                      Honorable Stephen V. Wilson
 15         v.
 16   FARADAY&FUTURE INC., SMART
      KING LTD., JIAWEI WANG, and                 NOTICE OF DEPOSITION OF
 17   CHAOYING DENG.                              CHAOYING DENG
 18               Defendants.
 19
 20   FARADAY&FUTURE INC.,
 21               Counterclaimant,
 22         v.
 23   HONG LIU,
 24               Counter-Defendant.
 25
 26
 27
 28                                          -1-
                                     NOTICE OF DEPOSITION


                                                               Exhibit 6, Page 30
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 34 of 44 Page ID
                                   #:866


  1         PLEASE TAKE NOTICE THAT, pursuant to Rule 30(b)(1) of the Federal
  2   Rules of Civil Procedure, Plaintiff/Counter-Defendant Hong Liu (“Plaintiff”) will
  3   take the deposition of Chaoying Deng (“Deng” or “Deponent”) on April 14, 2021,
  4   starting at 9:30 A.M. at Foundation Law Group LLP, 1999 Avenue of the Stars,
  5   Suite 1100, Los Angeles, CA 90067.
  6         The deposition will be taken remotely, by Veritext Virtual, Zoom or other
  7   remote service. The deponent will need to connect via a stable internet connection
  8   on a video link. The deposition will be taken under oath and by oral examination
  9   before a certified court reporter and will be recorded by audio/video recording and
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 11         PLEASE TAKE FURTHER NOTICE that Plaintiff expects the deposition to
 12   include material designated “Confidential” under the mutually agreed upon
 13   Protective Order that will be in place in this Action.
 14         If Deponent requires an interpreter, counsel for deponent shall notify the
 15   noticing party in writing fourteen (14) days prior to the scheduled deposition date.
 16
      Dated: March 23, 2021                FOUNDATION LAW GROUP LLP
 17
                                           By: /s/ Kevin D. Hughes
 18                                                 Attorneys for Plaintiff
 19
 20
 21
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                                       NOTICE OF DEPOSITION

                                                                  Exhibit 6, Page 31
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 35 of 44 Page ID
                                   #:867


  1
                                    PROOF OF SERVICE
  2
            I am at least eighteen years of age and not a party to this legal action. My
  3   business address is: 469 Seventh Avenue, Fifth Floor, New York, NY 10018.
  4          On March 23, 2021, I served the within documents:
  5    NOTICE OF DEPOSITION OF CHAOYING DENG
  6    by emailing the document listed above to the following individuals in accord with
  7    the parties’ agreement on email service:
  8
      Lauren E. Grochow
  9   Troutman Pepper Hamilton Sanders LLP
      5 Park Plaza, Suite 1400,
 10   Irvine, California 92614
      Lauren.Grochow@troutman.com
 11
 12   I declare under penalty of perjury under the laws of the United States of America
      that the foregoing is true and correct.
 13
 14   Executed on March 23, 2021, at New York, New York.
 15
 16
                                                     By: /s/ Jake Nachmani
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                                       NOTICE OF DEPOSITION

                                                                 Exhibit 6, Page 32
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 36 of 44 Page ID
                                   #:868


  1   Kevin D. Hughes (Bar No. 188749)
      FOUNDATION LAW GROUP LLP
  2   1999 Avenue of the Stars, Suite 1100
      Los Angeles, CA 90067
  3   Tel: 424.253.1266
      Email: kevin@foundationlaw.com
  4
      Amiad Kushner (pro hac vice)
  5   Jake Nachmani (pro hac vice)
      SEIDEN LAW GROUPth LLP
  6   469 Seventh Avenue, 5 Fl.
      New York, NY 10018
  7   Tel: 646.766.1914
      Email: akushner@seidenlawgroup.com
  8           jnachmani@seidenlawgroup.com
  9   Attorneys for Plaintiff/Counter-Defendant
      Hong Liu
 10
                          UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12                            WESTERN DIVISION
 13   HONG LIU,                                   CASE NO. 2:20-cv-08035-SVW-JPR
 14               Plaintiff,                      Honorable Stephen V. Wilson
 15         v.
 16   FARADAY&FUTURE INC., SMART
      KING LTD., JIAWEI WANG, and                 NOTICE OF DEPOSITION OF
 17   CHAOYING DENG.                              JIAWEI WANG
 18               Defendants.
 19
 20   FARADAY&FUTURE INC.,
 21               Counterclaimant,
 22         v.
 23   HONG LIU,
 24               Counter-Defendant.
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                                     NOTICE OF DEPOSITION


                                                               Exhibit 6, Page 33
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 37 of 44 Page ID
                                   #:869


  1         PLEASE TAKE NOTICE THAT, pursuant to Rule 30(b)(1) of the Federal
  2   Rules of Civil Procedure, Plaintiff/Counter-Defendant Hong Liu (“Plaintiff”) will
  3   take the deposition of Jiawei Wang (a/k/a “Jerry Wang”; “Wang” or “Deponent”)
  4   on April 16, 2021, starting at 9:30 A.M. at Foundation Law Group LLP, 1999
  5   Avenue of the Stars, Suite 1100, Los Angeles, CA 90067.
  6         The deposition will be taken remotely, by Veritext Virtual, Zoom or other
  7   remote service. The deponent will need to connect via a stable internet connection
  8   on a video link. The deposition will be taken under oath and by oral examination
  9   before a certified court reporter and will be recorded by audio/video recording and
 10   stenographic means.
 11         PLEASE TAKE FURTHER NOTICE that Plaintiff expects the deposition to
 12   include material designated “Confidential” under the mutually agreed upon
 13   Protective Order that will be in place in this Action.
 14         If Deponent requires an interpreter, counsel for deponent shall notify the
 15   noticing party in writing fourteen (14) days prior to the scheduled deposition date.
 16
      Dated: March 23, 2021                FOUNDATION LAW GROUP LLP
 17
                                           By: /s/ Kevin D. Hughes
 18                                                 Attorneys for Plaintiff
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                                       NOTICE OF DEPOSITION

                                                                  Exhibit 6, Page 34
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 38 of 44 Page ID
                                   #:870


  1
                                    PROOF OF SERVICE
  2
            I am at least eighteen years of age and not a party to this legal action. My
  3   business address is: 469 Seventh Avenue, Fifth Floor, New York, NY 10018.
  4          On March 23, 2021, I served the within documents:
  5    NOTICE OF DEPOSITION OF JIAWEI WANG
  6    by emailing the document listed above to the following individuals in accord with
  7    the parties’ agreement on email service:
  8
      Lauren E. Grochow
  9   Troutman Pepper Hamilton Sanders LLP
      5 Park Plaza, Suite 1400,
 10   Irvine, California 92614
      Lauren.Grochow@troutman.com
 11
 12   I declare under penalty of perjury under the laws of the United States of America
      that the foregoing is true and correct.
 13
 14   Executed on March 23, 2021, at New York, New York.
 15
 16
                                                     By: /s/ Jake Nachmani
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                                       NOTICE OF DEPOSITION

                                                                 Exhibit 6, Page 35
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 39 of 44 Page ID
                                   #:871


  1   Kevin D. Hughes (Bar No. 188749)
      FOUNDATION LAW GROUP LLP
  2   1999 Avenue of the Stars, Suite 1100
      Los Angeles, CA 90067
  3   Tel: 424.253.1266
      Email: kevin@foundationlaw.com
  4
      Amiad Kushner (pro hac vice)
  5   Jake Nachmani (pro hac vice)
      SEIDEN LAW GROUPth LLP
  6   469 Seventh Avenue, 5 Fl.
      New York, NY 10018
  7   Tel: 646.766.1914
      Email: akushner@seidenlawgroup.com
  8           jnachmani@seidenlawgroup.com
  9   Attorneys for Plaintiff/Counter-Defendant
      Hong Liu
 10
                          UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12                            WESTERN DIVISION
 13   HONG LIU,                                   CASE NO. 2:20-cv-08035-SVW-JPR
 14               Plaintiff,                      Honorable Stephen V. Wilson
 15         v.
 16   FARADAY&FUTURE INC., SMART
      KING LTD., JIAWEI WANG, and                 NOTICE OF DEPOSITION OF
 17   CHAOYING DENG.                              YANFENG WANG
 18               Defendants.
 19
 20   FARADAY&FUTURE INC.,
 21               Counterclaimant,
 22         v.
 23   HONG LIU,
 24               Counter-Defendant.
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                                     NOTICE OF DEPOSITION


                                                               Exhibit 6, Page 36
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 40 of 44 Page ID
                                   #:872


  1         PLEASE TAKE NOTICE THAT, pursuant to Rule 30(b)(1) of the Federal
  2   Rules of Civil Procedure, Plaintiff/Counter-Defendant Hong Liu (“Plaintiff”) will
  3   take the deposition of Yanfeng Wang (a/k/a “Jummin Wang” or “Michael Wang”;
  4   “Wang” or “Deponent”) on April 15, 2021, starting at 9:30 A.M. at Foundation
  5   Law Group LLP, 1999 Avenue of the Stars, Suite 1100, Los Angeles, CA 90067.
  6         The deposition will be taken remotely, by Veritext Virtual, Zoom or other
  7   remote service. The deponent will need to connect via a stable internet connection
  8   on a video link. The deposition will be taken under oath and by oral examination
  9   before a certified court reporter and will be recorded by audio/video recording and
 10   stenographic means.
 11         PLEASE TAKE FURTHER NOTICE that Plaintiff expects the deposition to
 12   include material designated “Confidential” under the mutually agreed upon
 13   Protective Order that will be in place in this Action.
 14         If Deponent requires an interpreter, counsel for deponent shall notify the
 15   noticing party in writing fourteen (14) days prior to the scheduled deposition date.
 16
      Dated: March 23, 2021                FOUNDATION LAW GROUP LLP
 17
                                           By: /s/ Kevin D. Hughes
 18                                                 Attorneys for Plaintiff
 19
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                                       NOTICE OF DEPOSITION

                                                                  Exhibit 6, Page 37
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 41 of 44 Page ID
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  1
                                    PROOF OF SERVICE
  2
            I am at least eighteen years of age and not a party to this legal action. My
  3   business address is: 469 Seventh Avenue, Fifth Floor, New York, NY 10018.
  4          On March 23, 2021, I served the within documents:
  5    NOTICE OF DEPOSITION OF YANFENG WANG
  6    by emailing the document listed above to the following individuals in accord with
  7    the parties’ agreement on email service:
  8
      Lauren E. Grochow
  9   Troutman Pepper Hamilton Sanders LLP
      5 Park Plaza, Suite 1400,
 10   Irvine, California 92614
      Lauren.Grochow@troutman.com
 11
 12   I declare under penalty of perjury under the laws of the United States of America
      that the foregoing is true and correct.
 13
 14   Executed on March 23, 2021, at New York, New York.
 15
 16
                                                     By: /s/ Jake Nachmani
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                                       NOTICE OF DEPOSITION

                                                                 Exhibit 6, Page 38
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 42 of 44 Page ID
                                   #:874


  1   Kevin D. Hughes (Bar No. 188749)
      FOUNDATION LAW GROUP LLP
  2   1999 Avenue of the Stars, Suite 1100
      Los Angeles, CA 90067
  3   Tel: 424.253.1266
      Email: kevin@foundationlaw.com
  4
      Amiad Kushner (pro hac vice)
  5   Jake Nachmani (pro hac vice)
      SEIDEN LAW GROUPth LLP
  6   469 Seventh Avenue, 5 Fl.
      New York, NY 10018
  7   Tel: 646.766.1914
      Email: akushner@seidenlawgroup.com
  8           jnachmani@seidenlawgroup.com
  9   Attorneys for Plaintiff/Counter-Defendant
      Hong Liu
 10
                          UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12                            WESTERN DIVISION
 13   HONG LIU,                                   CASE NO. 2:20-cv-08035-SVW-JPR
 14               Plaintiff,                      Honorable Stephen V. Wilson
 15         v.
 16   FARADAY&FUTURE INC., SMART
      KING LTD., JIAWEI WANG, and                 NOTICE OF DEPOSITION OF
 17   CHAOYING DENG.                              TEDDY KANG
 18               Defendants.
 19
 20   FARADAY&FUTURE INC.,
 21               Counterclaimant,
 22         v.
 23   HONG LIU,
 24               Counter-Defendant.
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                                     NOTICE OF DEPOSITION


                                                               Exhibit 6, Page 39
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 43 of 44 Page ID
                                   #:875


  1         PLEASE TAKE NOTICE THAT, pursuant to Rule 30(b)(1) of the Federal
  2   Rules of Civil Procedure, Plaintiff/Counter-Defendant Hong Liu (“Plaintiff”) will
  3   take the deposition of Teddy Kang (“Kang” or “Deponent”) on April 12, 2021,
  4   starting at 9:30 A.M. at Foundation Law Group LLP, 1999 Avenue of the Stars,
  5   Suite 1100, Los Angeles, CA 90067.
  6         The deposition will be taken remotely, by Veritext Virtual, Zoom or other
  7   remote service. The deponent will need to connect via a stable internet connection
  8   on a video link. The deposition will be taken under oath and by oral examination
  9   before a certified court reporter and will be recorded by audio/video recording and
 10   stenographic means.
 11         PLEASE TAKE FURTHER NOTICE that Plaintiff expects the deposition to
 12   include material designated “Confidential” under the mutually agreed upon
 13   Protective Order that will be in place in this Action.
 14         If Deponent requires an interpreter, counsel for deponent shall notify the
 15   noticing party in writing fourteen (14) days prior to the scheduled deposition date.
 16
      Dated: March 23, 2021                FOUNDATION LAW GROUP LLP
 17
                                           By: /s/ Kevin D. Hughes
 18                                                 Attorneys for Plaintiff
 19
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                                       NOTICE OF DEPOSITION

                                                                  Exhibit 6, Page 40
Case 2:20-cv-08035-SVW-JPR Document 104-2 Filed 03/24/21 Page 44 of 44 Page ID
                                   #:876


  1
                                    PROOF OF SERVICE
  2
            I am at least eighteen years of age and not a party to this legal action. My
  3   business address is: 469 Seventh Avenue, Fifth Floor, New York, NY 10018.
  4          On March 23, 2021, I served the within documents:
  5    NOTICE OF DEPOSITION OF TEDDY KANG
  6    by emailing the document listed above to the following individuals in accord with
  7    the parties’ agreement on email service:
  8
      Lauren E. Grochow
  9   Troutman Pepper Hamilton Sanders LLP
      5 Park Plaza, Suite 1400,
 10   Irvine, California 92614
      Lauren.Grochow@troutman.com
 11
 12   I declare under penalty of perjury under the laws of the United States of America
      that the foregoing is true and correct.
 13
 14   Executed on March 23, 2021, at New York, New York.
 15
 16
                                                     By: /s/ Jake Nachmani
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                                       NOTICE OF DEPOSITION

                                                                 Exhibit 6, Page 41
